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 4   Telephone: (916) 554-2790
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 7
 8                     IN THE UNITED STATES DISTRICT COURT
 9                    FOR THE EASTERN DISTRICT OF CALIFORNIA
10
11   UNITED STATES OF AMERICA,     )
                                   ) 2:03-cr-0371-MCE
12                    Plaintiff,   )
                                   ) STIPULATION AND PROPOSED ORDER
13                v.               ) TO CONTINUE STATUS CONFERENCE
                                   ) REGARDING SENTENCING
14   AMOS JACKSON, III; and        )
     DEMOND VAUGHN, et al.,        )
15                                 ) DATE: March 28, 2006
                      Defendants. ) TIME: 8:30 a.m.
16   ______________________________) CTRM: Hon. Morrison C. England, Jr.
17         The United States of America, through its counsels of record,
18   McGregor W. Scott, United States Attorney for the Eastern District
19   of California, and William S. Wong, Assistant United States
20   Attorney, and counsels for the defendants Amos Jackson, III, and
21   Demond Vaughn stipulate and request that the Court continue the
22   status conference regarding sentencing in this case from March 28,
23   2006, to June 27, 2006, at 8:30 a.m.
24   ///
25   ///
26   ///
27   ///
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 1        The Speedy Trial Act does not apply between conviction and
 2   sentencing.
 3                                               Respectfully submitted,
 4                                               McGREGOR W. SCOTT
                                                 United States Attorney
 5
 6   DATED: March 30, 2006             By: /s/ William S. Wong
                                            WILLIAM S. WONG
 7                                          Assistant U.S. Attorney
                                            Attorneys for Plaintiff
 8
 9
     DATED: March 30, 2006             By:       /s/ Victor Haltom
10                                               Victor Haltom, Esq., Attorney
                                                 for Defendant Amos Jackson, II
11
     DATED: March 30, 2006             By:       /s/ Christopher Haydn-Myer
12                                               Christopher Haydn-Myer, Esq.,
                                                 Attorney for Defendant
13                                               Demond Vaughn
14
     ____________________________________________________________________
15
                                        ORDER
16        IT IS SO ORDERED.
17   DATED: April 3, 2006
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                                        _____________________________
20                                      MORRISON C. ENGLAND, JR
21                                      UNITED STATES DISTRICT JUDGE

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